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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                    :     Case No. 20-cr-154 (ABJ)
                                             :
              v.                             :
                                             :
EVERRICK NEWMAN,                             :
                                             :
                      Defendant.             :


                                        NOTICE OF FILING

       The government requests that the attached discovery letter, dated June 28, 2021, be

made part of the record in this case.



                                                   Respectfully submitted,

                                                   CHANNING D. PHILLIPS
                                                   Acting United States Attorney


                                             By:   /s/Christopher A. Berridge
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